       Case 1:14-cv-01025-JB-SMV Document 400 Filed 09/06/18 Page 1 of 2




                       IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NEW MEXICO


UNITED STATES OF AMERICA,

       Plaintiff,

v.                                                              No. 1:14-cv-1025 RB/SMV

THE CITY OF ALBUQUERQUE,

       Defendant,

v.

THE ALBUQUERQUE POLICE
OFFICERS' ASSOCIATION,

       Intervenor.


                       NOTICE OF WITHDRAWAL OF ATTORNEY

       COMES NOW Jeramy Schmehl, Assistant City Attorney for Defendant City of

Albuquerque, and hereby notifies the Court and all parties related to this action that it withdraws

William W. Zarr on behalf of Defendant City of Albuquerque. William W. Zarr’s term as

Assistant City Attorney for the City of Albuquerque ended on August 31, 2018. The City

continues to have the following representation in this matter: Esteban A. Aguilar, Jr., City

Attorney, Samantha H. Hults, Managing Assistant City Attorney, Jeramy Schmehl, Assistant

City Attorney, and Lindsay F. Van Meter, Assistant City Attorney.
         Case 1:14-cv-01025-JB-SMV Document 400 Filed 09/06/18 Page 2 of 2




                                            Respectfully submitted,

                                            CITY OF ALBUQUERQUE
                                            Esteban A. Aguilar, Jr., City Attorney

                                            Electronically Filed

                                            /s/ Jeramy I. Schmehl
                                            Jeramy I. Schmehl
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                                            Attorneys for Defendant City of Albuquerque



                             CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that on the 6th day of September, 2018, I filed the forgoing
electronically through the CM/ECF system, which caused the parties, counsel of record and
independent monitor on the service list to be served by electronic means.

                                            /s/ Jeramy I. Schmehl
                                            Jeramy I. Schmehl




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